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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA



    KENNER CITY                                                      CIVIL ACTION
    VERSUS                                                           NO: 21-00445
    NETFLIX, INC., et al.                                            SECTION: T (3)


                                              ORDER

     Before the Court is a Motion to Remand filed by Plaintiff Kenner City. 1 Defendants filed a

response in opposition. 2 With leave of Court, Plaintiff filed a reply. 3 For the reasons set forth

below, The Court will GRANT Plaintiff’s Motion to Remand relying on the principles of comity

abstention articulated in Levin v. Commerce Energy, Inc., 560 U.S. 413 (2010).

     I.       Facts
     On January 22, 2021, the City of Kenner (“Plaintiff”) filed a petition for declaratory judgment

and other relief against Netflix, Inc. and Hulu, LLC (“Defendants”). 4 Plaintiff alleges that under

the Louisiana Consumer Choice for Television Act (the “Act”), Defendants are video service

providers and thus, are subject to pay franchise fees as required by the Act. 5 On March 3, 2021,

Defendants removed the case asserting diversity jurisdiction and jurisdiction under the Class

Action Fairness Act (“CAFA”). 6 Plaintiff now seeks to remand this matter back to state court

under the comity abstention doctrine maintaining that this case concerns local jurisdictions



1
  R. Doc. 21.
2
  R. Doc. 27.
3
  R. Doc. 31.
4
  R. Doc. 1, p. 2.
5
  Id.
6
  R. Doc. 1-2, p.1.
                                                 1
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collecting revenue, which cases belong in state court. 7

    The Act regulates the way cable television companies do business within the state. The Act

requires “video service provider[s]” to enter into a franchise agreement with Louisiana political

subdivisions or municipalities in exchange for use of a public right-of-way. 8 Holders of franchise

agreements must pay franchise fees to local governing authorities in the holder’s service area. 9

The Act defines “video service” as “video programming services provided through wireline

facilities located at least in part in the public rights of way without regard to delivery technology,

including Internet protocol technology.” 10

    Defendants are subscription-based streaming video services providing video programming to

customers in Louisiana. 11 Such video programming allows customers to view their favorite

television shows, movies, and offers a live-television streaming option for Hulu customers. 12

Defendants compete with other video programming that is comparable to cable service providers

and television broadcast stations. 13 Defendants offer paid video service to customers in the City

of Kenner and other class members. 14 Defendants have not entered into a franchise agreement and

do not pay the required video-service-provider fees to any class members. 15

    Plaintiff does not dispute the district court’s subject matter jurisdiction over the case, but




7
  R. Doc. 21, p. 1.
8
  2008 Consumer Choice for Television Act, La. R.S. § 45:1363(6).
9
  Id.
10
   La. R.S. § 45:1363(14).
11
   R. Doc. 1-1, p.2.
12
   Id. at p. 6.
13
   Id.
14
   Id.
15
   R. Doc. 1-1, p. 6.
                                             2
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instead files a motion to remand to state court on abstention grounds. 16 Invoking the comity

abstention doctrine, Plaintiff argues that federal courts have long declined to exercise jurisdiction

over cases involving local revenue collection and taxation. 17

     In response, Defendants argue that comity does not justify automatic remand for every case

that involves state and local taxation and that CAFA excludes the comity doctrine. 18 Defendants

contend that Plaintiff’s reliance on Levin is improper because Levin involved a taxpayer-initiated

challenge for applicable comity whereas Plaintiff is a state agency seeking to enforce a tax, rather

than invalidate it. 19

     Plaintiff recognizes that the Fifth Circuit of the United States Court of Appeals and Eastern

District of Louisiana do not have direct precedent on comity applicability on regulatory schemes

with Louisiana and their relationship to emerging technologies and methods to deliver video

services to consumers and have relied on previously decided actions concerning comity-based

abstention and video services regulations. 20

     II.    Legal Standard
     A party may remove an action to federal court only if the original action could have been

brought in federal court. 21 Diversity jurisdiction requires that no defendant have the same


16
   R. Doc. 21-1, p. 6.
17
   Id. at p. 1-2 (“[D]isputes concerning local jurisdictions collecting revenue belong in state court
under the comity abstention doctrine. See, e.g., Dows v. Chicago, 78 U.S. 108, 110 (1870); Levin
v. Commerce Energy, Inc., 560 U.S. 413, 421-23 (2010). ‘[A] proper reluctance to interfere by
prevention with the fiscal operations of the state governments has caused us to refrain from
doing so in all cases where the Federal rights of the persons could otherwise be preserved
unimpaired.’ Levin, 560 U.S. at 422 (quoting Boise Artesian Hot & Cold Water Co. v. Boise
City, 213 U.S. 276, 282 (1909)”).
18
   R. Doc. 27, p. 6.
19
   Id. at p. 9.
20
   R. Doc. 21-1, p. 2.
21
   28 U.S.C. § 1441(a).
                                                   3
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citizenship as the plaintiff and that the amount on controversy exceed $75,000. 22 A defendant may

remove a class action when the CAFA statute’s special diversity and procedural requirements are

satisfied, all of which the parties agree are satisfied in this case. 23 Federal courts have an obligation

to exercise the jurisdiction given to them. 24 Plaintiff asks the court to remand this matter under the

doctrine of comity abstention. Because a decision to abstain pushes against this obligation,

“[a]bstention from the exercise of federal jurisdiction is the exception, not the rule.” 25

     A court may remand a case back to state court when the federal court lacks subject matter

jurisdiction and “doubts whether removal jurisdiction is proper should be resolved against federal

jurisdiction.” 26 Even when removal is appropriate, a court may remand on comity-based abstention

grounds. 27 In assessing whether remand is appropriate, the principles of abstention and comity

recognize that “federal courts are courts of limited jurisdiction.” 28 “The comity doctrine counsels

lower federal courts to resist engagement in certain cases falling within their jurisdiction,”

including challenges to “state taxation of commercial activity.” 29 The doctrine has an

understanding that “revenue collection is a core function of state governments. 30

     It is well settled that the comity doctrine allows for remand to state court on matters to collect

franchise fees from video-service providers under the respective state’s regulatory schemes. 31



22
   28 U.S.C. §1332(a).
23
   28 U.S.C. §1332(d)(11).
24
   Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976).
25
   Id. at 813.
26
   Acuna v. Brown & Root Inc., 200 F.3d 335, 339 (5th Cir. 2000).
27
   Levin v. Com. Energy, Inc., 560 U.S. 413, 421 (2010).
28
   Pinkozie v. Ricks, 243 F. Supp. 3d 768, 779 (E.D. La. 2017).
29
   Levin, 560 U.S. at 421.
30
   City of Fishers, Indiana v. DIRECTV, 5 F.4th 750, 755 (7th Cir. 2021).
31
   See, e.g., Gwinnett Cty., Georgia v. Netflix, Inc., No. 1:21-CV-21-MLB, 2021 WL 3418083, at
*3 (N.D. Ga. Aug. 5, 2021); see e.g., City of Fisher, 5 F.4th at 755.
                                                   4
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Recently, federal courts have cited to Levin to conclude that the comity doctrine justified remand

to state court of class actions brought by cities to collect franchise fees from video-service

providers under the respective state’s regulatory systems. 32 Most notably in Levin, the Court

reinforced the comity doctrine’s broad foundation. 33 The Court remanded the case to state court

holding that comity barred a suit by Ohio natural gas sellers challenging the constitutionality of

state tax credit for public utilities that also sell natural gas. 34 In doing so, the Court sought to limit

disruption of Ohio’s detailed framework and streamlined process for adjudicating tax disputes

because the “Ohio courts [were] better positioned than their federal counterparts to correct any

constitutional violation.” 35

     There are three circumstances supporting abstention: (1) “whether the subject of an action is

one over which a state enjoys ‘wide regulatory latitude’”; (2) “whether a party is seeking federal

aid to improve their competitive position”; and (3) “whether a state court is better positioned to

resolve the dispute due to familiarity with ‘state legislative preferences.’” 36 The Levin Court found

these factors supported abstention explaining: (1) “respondents seek federal-court review of

commercial matters over which Ohio enjoys wide regulatory latitude; their suit does not involve

any fundamental right or classification that attracts heightened judicial scrutiny;” (2) respondents



32
   See, e.g., Gwinnett Cty., 2021 WL 2418083; City of Fishers, 5 F.4th 750 (7th Cir. 2021); City
of Creve Coeur, Missouri v. DIRECTV, LLC, 2019 WL 3604631 (E.D. Mo. Aug. 6, 2019)
(noting that by removing the case, the parties have invited federal court review of commercial
matters of which Missouri and Missouri municipalities enjoy wide regulatory latitude and that
state court would be a better forum for certain defenses related to the application of stat law and
state constitution because without question the state court is more familiar with the state
legislative preferences), leave to appeal denied, 2019 WL 7945996 (8th Cir. Sept. 12, 2019).
33
   Levin, 560 U.S. at 424.
34
   Id. at 417.
35
   Id. at 431-32.
36
   City of Fishers, 5 F.4th at 756.
                                                  5
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portray themselves as third-party challengers to an unconstitutional tax scheme, they are in fact

seeking federal-court aid in an endeavor to improve their competitive position;” and (3) Ohio

courts are better positioned than their federal counterparts to correct any violation because they

are more familiar with state legislative preferences.” 37 Levin delivered a clear message that comity

principles have great force “when lower federal courts are asked to pass on the constitutionality of

state taxation of commercial activity.” 38

     III.   Law and Analysis

            a. A Levin-based analysis is appropriate in this case.

     The parties dispute whether this case qualifies for a Levin-based comity abstention analysis.

Despite the Supreme Court’s emphasis on comity, Defendants argue this Court has no authority to

remand on a non-statutory basis. In making this argument, Defendants rely primarily on the two

factual differences between this dispute and the one at issue in Levin: (1) the state law in question

here, the Louisiana Consumer Choice for Television Act, does not impose a direct tax, and (2) the

City of Kenner initiated this action, unlike the third-party taxpayer who sought to diminish another

entity’s tax benefit. However, the franchise fee imposed under the Act, much like a tax, yields

revenue for municipalities in Louisiana. 39 Additionally, “the district court’s resolution of the

merits issues will risk or result in federal court interreference with the fiscal affairs of local



37
   Levin, 560 U.S. at 431-32.
38
   Id. at 421.
39
   See City of Fishers, 5 F.4th at 755 (citing DIRECTV, Inc. v. Tolson, 513 F.3d 119, 125 (4th
Cir. 2008) (interpreting the term “tax” broadly by holding franchise fees imposed on cable
providers by North Carolina’s regulatory schemes were taxes “[b]ecause the principle of comity
reflects the recognition that states should be free from federal interference in the administration
of their fiscal operations”)); see also Collins Holding Corp. v. Jasper Cty., S.C., 123 F.3d 797,
800 (4th Cir. 1997) (“If revenue paid into the state’s (or county’s) general fund and provides a
general benefit to the public, it sounds like a tax.”).
                                                   6
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government – the principal concern of Levin.” 40 The city’s role as plaintiff in this lawsuit does not

make any difference to the Levin abstention analysis. “[A] proper reluctance to interfere by

injunction with [a state’s] fiscal operations[ ] require[s] that such relief should be denied in every

case where the asserted federal right may be preserved without it.” 41 The putative class members

are all Louisiana political subdivisions and municipalities.

     This action, like those in City of Fishers and Gwinnett Cty., seeks to require Defendants to pay

a small percentage of their gross revenue to local governments in which they do business, and both

of those federal courts interpreted the term “tax” broadly to apply to franchise fees collected by

state municipalities that in turn provides a general benefit to the public. 42 Where there is power to

decline jurisdiction and dismiss, there is power to remand. 43 This Court possesses such power to

decline jurisdiction.

            b. The Levin factors support remand.

     Applying the Levin factors here, the same conclusion of comity-based abstention is supported

with each factor weighing in favor of abstention. First, this matter concerns a dispute over

commercial regulation – regarding the collection of revenue by local governments – and does not

involve a party’s fundamental rights or a suspect classification requiring heightened judicial

scrutiny. This case revolves around the reach of the state Act and its applicability to Defendants’

respective businesses. The Act, enacted by the Louisiana legislature, gave local governments sole

licensing and franchise authority over video services. Thus, Defendants seek federal court




40
   Id.
41
   Id. (citing Levin, 560 U.S. at 422).
42
   Id.; Gwinnett Cty., 2021 WL 3418083, at *6.
43
   Id. at *3-4 (citing Carnegie-Mellon University v. Cohill, 484 U.S. 343 (1988).
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intervention in matters over which the state of Louisiana and its municipalities have traditionally

enjoyed wide regulatory latitude – specifically, utility regulation and gross revenue fees – by

asking a federal court to interpret the Act.

      Second, Defendants invoke federal jurisdiction to improve their competitive position over

traditional cable television providers that pay franchise fees under the Act. Defendants’ cable

competitors have paid the franchise fee to Plaintiff and other Louisiana municipalities, but

Defendants have not sought franchise certificates or paid the fee. If Defendants are required to pay

the franchise fee, like cable companies, their profits could be reduced and may affect the price of

their services offered to their customers. Defendants seek to continue this competitive imbalance

in the marketplace by not complying with the Act. As the Supreme Court instructs in Levin,

arbitrating the desirability of competitive advantage is best left to local authorities. 44

      Finally, this matter involves interpretation of Louisiana state law, a certain provision of the

Consumer Choice Television Act, for which there is no existing state court guidance. As in Georgia

and Indiana, the Plaintiff in this case alleges a state law requires Defendants to pay fees which the

Defendants argue it does not. The dispute inherently implicates Louisiana state and local fiscal

operations that should be decided by Louisiana state courts. Louisiana state courts are better

positioned than this Court because they are more familiar with state legislative preferences

concerning the Act that will aid them in addressing the questions of first impression from this case.

Applying the Levin factors, these considerations in combination require remand in respect to the

state adjudicative process.




44
     Levin, 560 U.S. at 431-32.
                                                   8
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            c. Defendants’ remaining arguments contravene Levin comity and do not weigh
               against remand.

     The parties dispute whether this case qualifies for a Levin-based comity abstention analysis.

Despite the Supreme Court’s emphasis on comity, Defendants additionally argue this Court has no

authority to remand on a non-statutory basis. Defendants argue that comity is the exception and

not the rule to remand every case involving state and local tax and that comity does not apply to

CAFA actions seeking damages.

     First, Defendants’ position that comity is not appropriate in this matter relies on their

contention that other cases dealing with comity are not similar to this action. Defendants claim

federal courts historically have accepted comity when taxpayers seek to invalidate some aspect of

a state’s tax system. Defendants’ response to Plaintiff’s supplemental authority focuses on how

comity cannot overrule a party’s right to supplemental jurisdiction. However, the Levin, City of

Fishers, and Gwinnett Cty. decisions do not make this assertion. Instead, the Supreme Court and

federal courts that have considered these issues allow comity to be applied to justify a federal

court’s decision to remand an action back to state court. 45 These decisions reinforce the notion

that comity is the exception and not the rule, with which Defendants agree.

     Second, Defendants’ argument that CAFA itself excludes comity where a plaintiff is seeking

damages and their reliance on Quackenbush v. Allstate Ins. Co. are misplaced. The Court in

Quackenbush discussed Burford abstention, not comity as examined by Levin. 46 The Quackenbush



45
   Levin, 560 U.S. at 432 (“Comity … is a prudential doctrine. ‘If the State voluntarily chooses to
submit to a federal forum, principles of comity do not demand that the federal court force the
case back into the State’s own system.’” (quoting Ohio Bureau of Emp. Servs. v. Hodory, 431
U.S. 471, 480 (1977))).
46
   Quackenbush v. Allstate Ins. Co., 517 U.S. 707 (1996) (Burford abstention allows federal
courts to remand a case only if it presents “difficult questions of state law bearing on policy
                                                  9
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Court distinguished itself from Fair Assessment in Real Est. Ass’n, Inc. v. McNary, which

permitted abstention for a declaratory relief and damages action, explaining Fair Assessment dealt

with damages “based on the unconstitutional application of a state tax law, and the award of

damages turned first on a declaration that the state tax was in fact unconstitutional.” 47 Courts have

determined the comity doctrine extends to claims seeking damages. 48 Thus, Defendants’ argument

fails to be supported with any legal authority and is thus unpersuasive.

   IV.      Conclusion
   Because principles of comity counsel against this Court exercising jurisdiction over the case

when federal intervention would disrupt Louisiana’s process for adjudicating tax disputes and

where an adequate state court is available, the Court will GRANT the Motion to Remand. 49

Accordingly,

         IT IS ORDERED that the Motion to Remand is GRANTED, and this case is remanded to

the state court for further proceedings.

         New Orleans, Louisiana, this 31st day of March 2022.




                                                        GREG GERARD GUIDRY
                                                      UNITED STATES DISTRICT JUDGE



problems of substantial public import whose importance transcends the result in the case then at
bar,” or when deciding “would be disruptive of state efforts to establish a coherent policy with
respect to a matter of substantial public concern.” (quoting Colorado River Water Conservation
Dist. v. United States, 424 U.S. 800, 814 (1976))).
47
   Id. at 719 (citing Fair Assessment in Real Est. Ass’n, Inc. v. McNary, 454 U.S. 100, 114).
48
   See e.g., Great Lakes Dredge & Dock Co. v. Huffman, 319 U.S. 293, 297 (1943); Fredrickson
v. Starbucks Corp., 840 F.3d 1119, 1124 (9th Cir. 2019).
49
   R. Doc. 21.
                                                 10
